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   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK
   ----------------------------------------------------------- X
                                                               :
   UNITED STATES OF AMERICA,                                   :
                                                               :   MEMORANDUM DECISION
                          - against -                          :   AND ORDER
                                                               :
   JOAQUIN ARCHIVALDO GUZMAN                                   :   09-cr-0466 (BMC)
   LOERA,                                                      :
                                                               :
                                         Defendant.            :
   ----------------------------------------------------------- X
  COGAN, District Judge.

            Defendant has filed two motions to suppress evidence as the fruit of illegal searches and

  seizures. The first motion concerns evidence obtained from defendant’s communication network

  located on servers in the Netherlands. The second relates to evidence obtained from his FlexiSpy

  spyware accounts located on servers in the United States. For the reasons given below,

  defendant’s motions are denied.

            The Court assumes familiarity with the facts and will discuss them below only as needed.

      I.       Timeliness

            As a threshold matter, the Government argues that the Court should deny defendant’s

  motions to suppress as untimely. Defendant claims that he was unaware of the basis for these

  motions until he received unredacted versions of related discovery after the April 9, 2018

  deadline. After reviewing the discovery, I agree that defendant has put forth a good faith basis

  for his delay, and will therefore decide the motions on the merits.

      II.      Fourth Amendment Standing

            Defendant moves to suppress evidence from the Dutch servers and the FlexiSpy accounts

  on the ground that it was obtained through violations of his Fourth Amendment rights. As the
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  party moving to suppress, defendant bears the burden of establishing his standing. See United

  States v. Osorio, 949 F.2d 38, 40 (2d Cir. 1991).

         The Fourth Amendment provides: “The right of the people to be secure in their persons,

  houses, papers, and effects, against unreasonable searches and seizures, shall not be violated, and

  no warrants shall issue, but upon probable cause, supported by oath or affirmation, and

  particularly describing the place to be searched, and the persons or things to be seized.” U.S.

  Const. amend. IV. “The basic purpose of this Amendment, . . . is to safeguard the privacy and

  security of individuals against arbitrary invasions by governmental officials.” Carpenter v.

  United States, 138 S. Ct. 2206, 2213 (2018) (internal quotation marks and citation omitted).

         Under the Fourth Amendment, a search occurs when “the government violates a

  subjective expectation of privacy that society recognizes as reasonable.” Kyllo v. United States,

  533 U.S. 27, 33 (2001). A seizure occurs when “there is some meaningful interference with an

  individual’s possessory interests in that property.” Soldal v. Cook Cty., 506 U.S. 56, 61 (1992)

  (quoting United States v. Jacobsen, 466 U.S. 109, 113 (1984)). The “ultimate touchstone of the

  Fourth Amendment is reasonableness.” Riley v. California, 134 S. Ct. 2473, 2482 (2014).

         To establish standing in the Fourth Amendment context, a defendant “must prove that he

  had a legitimate expectation of privacy that was violated by the Government’s [conduct].”

  United States v. Montoya-Eschevarria, 892 F. Supp. 104, 106 (S.D.N.Y. 1995); see also United

  States v. Smith, 621 F.2d 483, 487-88 (2d Cir. 1980). This burden “is met only by sworn

  evidence, in the form of affidavit or testimony, from the defendant or someone with personal

  knowledge.” Montoya-Eschevarria, 892 F. Supp. at 106. “The defendant’s unsworn assertion of

  the Government’s representations does not meet this burden.” Id.; see also United States v.

  Singleton, 987 F.2d 1444, 1449 (9th Cir. 1993).



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            Montoya-Eschevarria is instructive. There, the defendant moved to suppress recorded

  phone calls for lack of probable cause. The defendant did not assert that the voice on the phone

  calls was his; instead, he claimed that the Government told his counsel that it was him. The

  court acknowledged the defendant’s predicament – he would either have to admit that it was his

  voice or forego his motion to suppress. However, the Court concluded that the defendant could

  not establish his standing by relying on the Government’s assertions.

            Similarly, defendant has not demonstrated the threshold for a legitimate expectation of

  privacy by swearing that the information on the Dutch servers or FlexiSpy accounts is his.

  Instead, defendant uses Special Agent Grey’s affidavit as a proxy for his own. However, Special

  Agent Grey does not have personal knowledge that the Dutch servers and FlexiSpy accounts are

  defendant’s.

                                 That is too tenuous a link to create standing for a motion to

  suppress, and impermissibly relies entirely on the Government’s theory of the case.

            Because defendant has not met his burden to establish standing, defendant’s motions to

  suppress are denied. However, even if defendant could establish standing by relying on Special

  Agent Grey’s affidavit, I would still deny defendant’s motions for the reasons that follow.

     III.      Motion to Suppress the Dutch Servers Communications

            Defendant challenges the FBI’s search of servers that ran his encrypted communication

  network, including telephone calls, text communications, and information stored on that

  network.



                                            At all relevant times, the servers that ran this encrypted

  communication network were located in the Netherlands.



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           The United States and the Netherlands are parties to a Mutual Legal Assistance Treaty

  (“MLAT”). Over the course of 2011 and 2012, the FBI obtained evidence from the Dutch

  servers in three ways. First, the FBI made several MLAT requests for Dutch authorities to

  surveil certain IP addresses connected to defendant’s communication network, and the Dutch

  authorities intercepted and recorded phone calls and provided that surveillance to the FBI on an

  ongoing basis. Second, the Dutch authorities executed search warrants on the servers and

  provided the FBI with copies of their contents.

                                                                                              The Dutch

  authorities also leased additional servers to house the recorded conversations and created a

  backup server that automatically received and stored the surveilled data for the FBI.

           As discussed further in Part IV.A below, the Supreme Court has characterized the

  Government’s “acquisition” of collected, recorded data as a search, rather than a seizure. See

  Carpenter, 138 S. Ct. at 2221. The FBI’s receipt of the communications and information stored

  on the Dutch servers did not interfere with defendant’s possessory interests, because it did not

  impede his ability to use the communication network or access the data on those servers.

  Instead, the challenged conduct involves a possible invasion of any privacy interest defendant

  had in their contents – constituting a search under the Fourth Amendment, rather than a seizure.

           Several searches occurred in this case. First, the Dutch authorities conducted searches by

  their surveillance of each IP address, and by providing the FBI with ongoing information from

  that surveillance. 1


  1
   Pursuant to the so-called “international silver platter doctrine,” “suppression is generally not required when the
  evidence at issue is obtained by foreign law enforcement officials.” United States v. Lee, 723 F.3d 134, 140 (2d Cir.
  2013). However, evidence obtained in a foreign country may be excluded “where the conduct of foreign law
  enforcement officials rendered them agents, or virtual agents, of United States law enforcement officials.” Id. “In
  order to render foreign law enforcement officials virtual agents of the United States, American officials must play
  some role in controlling or directing the conduct of the foreign parallel investigation.” United States v. Getto, 729
  F.3d 221, 230 (2d Cir. 2013). Defendant argues that the Dutch authorities acted as agents of the Government,

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                                                                                    Finally, the Dutch

  authorities conducted searches when they accessed and copied the contents of the Dutch servers

  pursuant to search warrants, and when they transferred those copies to the FBI.

           Even if this conduct were characterized as a seizure rather than a search, the seizure

  would still have been reasonable in light of the Government’s need to avoid the loss of evidence.

  “Where law enforcement authorities have probable cause to believe that a container holds

  contraband or evidence of a crime, . . . [officers may] seiz[e] [] the property . . . to examine its

  contents, if the exigencies of the circumstances demand it . . . .” United States v. Martin, 157

  F.3d 46, 53 (2d Cir. 1998) (quoting United States v. Place, 462 U.S. 696, 701 (1983)).



                                                                                                    .

                                                                                            As a result, the

  Government likely had probable cause to believe that defendant and his associates used the

  network to discuss the Sinaloa Cartel and details of its narcotics trafficking, among other illegal

  activity. Over the course of the investigation, the FBI became concerned that the calls

  containing this evidence would be lost,

                                                                      and asked the Dutch authorities to

  adjust their method of surveillance. Seizing the communications was therefore necessary to

  avoid “loss or destruction of suspected contraband.” Martin, 157 F.3d at 53 (internal quotation




  triggering Fourth Amendment protection for defendant. The Government nominally contests this point, but states
  that I do not need to decide the issue in order to dispose of the motion. I agree. For the purpose of the motion to
  suppress evidence obtained from the Dutch servers, I will assume that the Dutch authorities acted as agents of the
  Government. However, even assuming the Fourth Amendment applies to their conduct, the searches were
  reasonable, and the evidence obtained from them need not be suppressed.

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  marks omitted). The Court agrees with the Government that any seizure was reasonable under

  the circumstances.

             A. Extraterritorial Application of the Fourth Amendment

         The Supreme Court in United States v. Verdugo-Urquidez, 494 U.S. 259, 261 (1990),

  held that the Fourth Amendment does not apply “to the search and seizure by United States

  agents of property that is owned by a nonresident alien and located in a foreign country.” Only

  aliens who “have otherwise developed sufficient [voluntary connections] with this country to be

  considered part of [the national] community” may invoke its protections. Id. at 265.

         The Second Circuit has strictly adhered to this holding. See In re Terrorist Bombings of

  U.S. Embassies in E. Africa, 552 F.3d 157, 174 (2d Cir. 2008) (observing that its previous

  holding articulated in United States v. Toscanino, 500 F.2d 267 (2d Cir. 1974), “that aliens may

  invoke the Fourth Amendment against searches conducted abroad by the U.S. government” was

  “no longer valid in light of Verdugo–Urquidez”). So too have courts within this district. See,

  e.g., United States v. Gasperini, No. 16-CR-441, 2017 WL 3038227, at *3 (E.D.N.Y. July 17,

  2017), aff’d, 894 F.3d 482 (2d Cir. 2018); United States v. Hasbajrami, No. 11-CR-623, 2016

  WL 1029500, at *7 (E.D.N.Y. Mar. 8, 2016); United States v. Defreitas, 701 F. Supp. 2d 297,

  304 (E.D.N.Y. 2010). Indeed, it appears that courts in this Circuit consider the Verdugo-

  Urquidez holding “dispositive case law.” See Defreitas, 701 F. Supp. 2d at 304.

         Notably, the respondent in Verdugo-Urquidez was a citizen and resident of Mexico and

  was believed to be “one of the leaders of a large and violent organization in Mexico that

  smuggles narcotics into the United States.” Id. at 262. After his arrest in Mexico and relocation

  to the United States, agents of the Drug Enforcement Agency and the Mexican Federal Judicial

  Police conducted searches of the respondent’s properties in Mexico, which resulted in the seizure



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  of certain documents. The Supreme Court rejected the respondent’s Fourth Amendment claim

  because, “[a]t the time of the search, he was a citizen and resident of Mexico with no voluntary

  attachment to the United States, and the place searched was located in Mexico.” Id. at 274-75.

  In those circumstances, it instructed, “the Fourth Amendment has no application.” Id. at 275.

         Defendant claims that the searches of his Dutch servers violated the Fourth Amendment.

  However, the searches occurred in the Netherlands, and defendant was a citizen and resident of

  Mexico at that time. As a result, defendant can only invoke the Fourth Amendment if he has

  established substantial voluntary connections to the United States.

         Defendant argues that, because the Government claims that he and the Sinaloa Cartel

  directed a large-scale narcotics trafficking operation into the United States and sold millions of

  dollars of drugs here, the Government has alleged sufficient connections to afford him Fourth

  Amendment protections. But defendant – not the Government – bears the burden of establishing

  that his Fourth Amendment rights were violated. See Osorio, 949 F.2d at 40. Because he has

  not provided any facts other than the Government’s theory of the case, defendant has not met his

  burden to show substantial connections with this country that might otherwise entitle him to

  Fourth Amendment protections. See Montoya-Eschevarria, 892 F. Supp. at 106.

         Even if defendant could establish a connection to this country through the Government’s

  charges against him, defendant’s conduct does not constitute the type of connections that the

  Supreme Court envisioned when it spoke of the community of people covered by the Fourth

  Amendment. Rather, his alleged connections are purely criminal and do not entitle him to

  protection. See, e.g., United States v. Gorshkov, No. CR00-550C, 2001 WL 1024026, at *3

  (W.D. Wash. May 23, 2001). Ultimately, defendant’s story parallels that of the respondent’s in




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  Verdugo-Urquidez, and the Supreme Court was clear that the Fourth Amendment did not apply

  in that instance.

          Because defendant was, at the relevant time, a citizen and resident of Mexico and has not

  shown substantial voluntary connections to the United States, defendant cannot invoke the

  Fourth Amendment for searches that occurred in the Netherlands. However, assuming defendant

  could invoke the Fourth Amendment, I would still deny his motion to suppress the Dutch servers

  evidence.

              B. Challenge to the Searches of the Dutch Servers

          As an initial matter, “the Fourth Amendment’s warrant requirement does not govern

  searches conducted abroad by U.S. agents; such searches . . . need only satisfy the Fourth

  Amendment’s requirement of reasonableness.” In re Terrorist Bombings, 552 F.3d at 167.

  Because the challenged searches occurred in the Netherlands, the Fourth Amendment’s warrant

  requirement does not apply, and the searches are assessed based on their reasonableness.

          It is well settled that ‘Fourth Amendment protections extend only to unreasonable

  government intrusions into . . . legitimate expectations of privacy.” United States v. Reyes, 283

  F.3d 446, 457 (2d Cir. 2002) (internal quotation marks and citations omitted). “As a general

  matter, ‘[t]he reasonableness of a search depends on the totality of the circumstances, including

  the nature and purpose of the search and the extent to which the search intrudes upon reasonable

  privacy expectations.’” United States v. Lambus, 897 F.3d 368, 402 (2d Cir. 2018) (quoting

  Grady v. North Carolina, 135 S. Ct. 1368, 1371 (2015)). “Reasonableness in the totality of the

  circumstances ‘is determined by assessing, on the one hand, the degree to which [the search]

  intrudes upon an individual’s privacy, and, on the other, the degree to which it is needed for the

  promotion of legitimate government interests.’” Id. (quoting Samson v. California, 547 U.S.



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  843, 848 (2006)). “For an individual’s expectation of privacy to be legitimate, he must have

  exhibited an actual (subjective) expectation of privacy and the expectation must be one that

  society is prepared to recognize as reasonable.” Reyes, 283 F.3d at 457 (internal quotation

  marks and citations omitted).

         Defendant has not claimed a subjective expectation of privacy in the Dutch servers.

  However, his communication network was encrypted and was purportedly created to allow

  communication without Government interception. This suggests that defendant had a subjective

  expectation of privacy in the communications made on the system, and I will accept that premise

  as true for the purpose of this motion.

         Nevertheless, defendant did not have an objectively reasonable expectation of privacy in

  these communications. There are two primary reasons why. First, defendant was an escapee

  from prison during this time, and there was a significant bounty for his capture – worth millions.

  From the moment he fled, defendant became a target of public and governmental investigation.

  It is not reasonable for defendant to think that the Government (or, for that matter, a civilian) was

  not monitoring his communications in an attempt to capture him. Further, defendant’s status as

  an escapee means that he receives the same “severely curtailed” Fourth Amendment protections

  as prison inmates. See United States v. Roy, 734 F.2d 108, 111 (2d Cir. 1984) (“We consider an

  escapee to be in constructive custody for the purpose of determining his legitimate expectations

  of privacy; he should have the same privacy expectations in property in his possession inside and

  outside the prison”). Notably, the Second Circuit has instructed that “prison inmates have no

  reasonable expectation of privacy,” United States v. Amen, 831 F.2d 373, 379-80 (2d Cir. 1987),

  and as a result, neither does defendant here.




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              C.   The Good Faith Exception to the Exclusionary Rule

          The Government argues that the good faith exception to the exclusionaiy rnle applies,

   because the FBI relied in good faith on all of the binding appellate precedent discussed above

   (and more) in conducting the Dutch servers searches. See Davis v.United States, 564 U.S.229,

   236-37 (2011). I agree.

          The Supreme Comt has aiticulated that the "[exclusionaiy] rnle's sole pmpose ...is to

   deter futme Fomth Amendment violations." Id. "[W]hen the police act with an objectively




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   reasonable good-faith belief that their conduct is lawful, or when their conduct involves only

   simple, isolated negligence, the deterrence rationale loses much of its force, and exclusion cannot

   pay its way.” Id. at 238 (internal quotations and citation omitted). Here, law enforcement

   officials conformed their conduct to existing Supreme Court and Second Circuit law while

   conducting searches on the Dutch servers. This counsels against application of the exclusionary

   rule, because its deterrent value simply would not be furthered in this case.

                D. Fifth Amendment Due Process

            It is not clear whether defendant’s motion argues that the Dutch servers evidence should

   be suppressed because the searches violate defendant’s Fifth Amendment due process rights. In

   case that was defendant’s intent, I will address the merits of this argument.

            To succeed on a claim that the “government’s conduct in pursuit of evidence” violates a

   defendant’s Fifth Amendment due process rights, “the government’s method of acquiring the

   evidence must be so egregious that it ‘shocks the conscience.’” United States v. Vega, No. 7-

   CR-707, 2012 WL 1925876, at *6 (E.D.N.Y. May 24, 2012) (quoting United States v. Salerno,

   481 U.S. 739, 746 (1987). 3 The Second Circuit has said that “[t]he concept of fairness embodied

   in the Fifth Amendment due process guarantee is violated by government action that is

   fundamentally unfair or shocking to our traditional sense of justice, or conduct that is ‘so

   outrageous’ that common notions of fairness and decency would be offended were judicial

   processes invoked to obtain a conviction against the accused.” United States v. Schmidt, 105

   F.3d 82, 91 (2d Cir. 1997) (internal citations omitted). Conduct that shocks the conscience is


   3
     Another district court has recognized that “in the context of motions to suppress evidence obtained in foreign
   countries, the Second Circuit has articulated the ‘shock the conscience’ standard only in reference to the conduct of
   foreign officials, who are not constrained by the Fourth Amendment.” United States v. Yaroshenko, No. 09-CR-
   524, 2015 WL 3400805, at *3 n.4 (S.D.N.Y. May 21, 2015). For the purpose of this motion, I am assuming the
   Dutch authorities acted as agents of the Government; but even if they were not, defendant does not articulate how
   the Dutch authorities’ conduct shocks the conscience. Indeed, the evidence suggests they followed all necessary
   procedural requirements in the Netherlands.

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   “extreme,” and “[o]rdinarily . . . must involve either coercion . . . or violation of the defendant’s

   person.” Id. (internal citations omitted); see also United States v. Coke, No. 07 CR 971, 2011

   WL 3738969, at *5 (S.D.N.Y. Aug. 22, 2011).

            The Second Circuit has recognized that “[t]he investigation of crime increasingly requires

   the cooperation of foreign and United States law enforcement officials.” United States v.

   Paternina-Vergara, 749 F.2d 993, 998 (2d Cir. 1984). Here, the Government worked

   cooperatively with foreign authorities to surveil servers that were located abroad. Defendant

   does not point to any specific misconduct by the Government, but instead, seems to challenge the

   entire process.

                                   requested the Dutch authorities to alter their method of

   surveillance over the course of the investigation, defendant does not explain why this conduct

   was impermissible, and the Court does not see how the Government’s conduct was improper.

      IV.      Motion to Suppress the FlexiSpy Data

            Defendant’s argument as to the FlexiSpy data proceeds in two steps: first, he argues that

   his Fourth Amendment rights were violated when the Government,

                                          twice accessed the FlexiSpy accounts through the

   company’s website and downloaded the data from defendant’s accounts. Second, defendant

   argues that the FBI’s searches of the contents of DVD1 and DVD2 under the first two warrants

   and its search of the Amazon Cloud server under the third warrant all violated the Fourth

   Amendment because the warrants were, for various reasons, facially and procedurally invalid

   under Federal Rule of Criminal Procedure 41.




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           A. Digital Duplication as a Fourth Amendment Search

           As an initial matter, this opinion assumes that defendant has a Fourth Amendment right

   in his data stored on the Amazon Cloud server in the United States. 4




                                                                                        downloading it to DVD1,

   DVD2, and an FBI server (respectively) were each “searches” within the meaning of the Fourth

   Amendment. However, those searches were reasonable and there was no constitutional

   violation.

           As discussed above, a search occurs when “the government violates a subjective

   expectation of privacy that society recognizes as reasonable.” Kyllo, 533 U.S. at 33. A seizure

   happens when “there is some meaningful interference with an individual’s possessory interests in

   that property.” Soldal, 506 U.S. at 61 (quoting Jacobsen, 466 U.S. at 113).

           Most courts that have addressed duplication, including digital duplication, have analyzed

   it as a seizure. For example, the Supreme Court did so with the act of recording visible

   information, such as by photographing it or copying it down, and held that is not a seizure. See

   Arizona v. Hicks, 480 U.S. 321, 324 (1987). The Second Circuit used a similar analysis in

   Microsoft Corp. v. United States, 829 F.3d 197, 220 (2d Cir. 2016), vacated and remanded sub

   nom., United States v. Microsoft Corp., 138 S. Ct. 1186 (2018), concluding that the Government



   4
     As the analysis in Part III makes clear, this assumption may not be warranted. The “sufficient connection”
   requirement in Verdugo-Urquidez could be read to extend to domestic searches of papers and effects of a foreign
   national. A handful of district courts have adopted this approach. See United States v. Gutierrez-Casada, 553 F.
   Supp. 2d 1259, 1265-66 (D. Kan. 2008); United States v. Esparza-Mendoza, 265 F. Supp. 2d 1254, 1273 (D. Utah
   2003). But this reading of Verdugo-Urquidez is also in tension with the portion of that opinion that emphasized that
   the Fourth Amendment’s purpose “was to restrict searches and seizures which might be conducted by the United
   States in domestic matters.” 494 U.S. at 266. In the interest of completeness, the Court will address defendant’s
   arguments assuming that he had a Fourth Amendment right in his data stored on a server in the United States.

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   had seized a customer’s data when Microsoft moved the data from a foreign server to a domestic

   one at the Government’s request. The Supreme Court has since vacated that opinion as moot,

   but its reasoning and conclusion still have persuasive value.

           To support its argument that the digital duplication here was not a seizure, the

   Government cites cases where district courts reached the opposite conclusion by applying Hicks

   to the copying or transfer of electronic data. See In re Search of Info. Associated with

   [redacted]@gmail.com that is Stored at Premises Controlled by Google, Inc., No. 16-MJ-00757,

   2017 WL 3445634, at *16 (D.D.C. July 31, 2017); In re Search Warrant No. 16-960-M-01 to

   Google, 232 F. Supp. 3d 708, 720 (E.D. Pa. Feb. 3, 2017); United States v. Gorshkov, No.

   CR00-550C, 2001 WL 1024026, at *3 (W.D. Wash. May 23, 2001). Those cases emphasize

   how the copying of data does not meaningfully interfere with the data owner’s possessory

   interest because the copying does not alter the data itself or the owner’s ability to access it.

           I agree with the reasoning in these district court cases – it is difficult to see how digital

   duplication interferes with a possessory interest because copying does not damage the data or

   interfere with its owner’s ability to use it. But duplication does interfere with the owner’s

   control over that information, which could be understood as an interference with the owner’s

   privacy interest in its contents. 5 At least one district court has applied similar reasoning to

   conclude that duplication of physical documents via high-resolution photographs is both a

   seizure and a search. See United States v. Jefferson, 571 F. Supp. 2d 696, 704 (E.D. Va. 2008).

   The Jefferson Court reasoned that the defendant’s interest in the documents extended not just to

   the physical pieces of paper, but also to their contents. From there, the court concluded that the



   5
    One commentator has characterized this as the “right to delete” and concluded that it is a meaningful interference
   with a possessory interest. See Paul Ohm, The Fourth Amendment Right to Delete, 119 Harv. L. Rev. F. 10, 11-12,
   14-16 (2005); see also Note, Digital Duplications and the Fourth Amendment, 129 Harv. L. Rev. 1046 (2016).

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   officials taking photographs of the documents interfered with the defendant’s interest in sole

   possession of the document’s contents.

           This view is also consistent with how the Supreme Court in Carpenter, 138 S. Ct. at 2217,

   characterized the cell-site location information that the Government obtained from the user’s

   wireless carrier – as the “product of a search.” Later in the opinion, the Supreme Court

   described the Government accessing that information previously recorded by his carrier as an

   invasion of the appellant’s “reasonable expectation of privacy in the whole of his physical

   movements.” Id. at 2219. Although Carpenter was decided in the context of cell-site location

   information, it is significant that the Supreme Court categorized the Government’s acquisition of

   that information as a search, not a seizure.

                                                                             , that act was a search

   within the meaning of the Fourth Amendment because it interfered with defendant’s privacy

   interest in his data’s contents.

           However, the Fourth Amendment only protects against unreasonable searches and

   seizures and this one was certainly reasonable. As described above, defendant was an escaped

   prisoner with no objectively reasonable expectation of privacy in his electronic communications,

   including those recorded using the FlexiSpy software.




           Similar to the Dutch servers evidence discussed in Part III, even if the downloading of the

   FlexiSpy data is characterized as a seizure rather than a search, that seizure would still have been

   reasonable in light of the Government’s need to avoid destruction of the evidence. Defendant



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   does not contest the Government’s argument that it had probable cause to search or seize the

   FlexiSpy data. See Martin, 157 F.3d at 53.

            Here, the first and second warrants,

                          , were issued after two different magistrate judges determined that the

   Government had shown probable cause to believe that the DVDs contained evidence of criminal

   activity.

                              the Government was aware that defendant and his co-conspirators

   regularly accessed the FlexiSpy data and that they sometimes deleted it. Seizing the data was

   therefore, as with the Dutch servers information, necessary to avoid “loss or destruction of

   suspected contraband.” Martin, 157 F.3d at 53 (internal quotation marks omitted). The risk that

   electronic data might be destroyed is of course frequently present; here, the Government knew

   that defendant and his co-conspirators had deleted the data before and had access to the

   information whenever they wanted, which made the Government’s fear of its potential

   destruction particularly reasonable. 6 See id.; United States v. Gorshkov, No. CR00-550C, 2001

   WL 1024026, at *4 (W.D. Wash. May 23, 2001).

            Finally,

                                                               , the independent source doctrine would

   counsel against suppression here. This doctrine grows out of the underlying rationale for

   exclusionary rule itself: excluding “evidence that is the fruit of unlawful police conduct . . . is


   6
     It is not clear whether defendant intended to argue that there was an unconstitutional delay in procuring the first
   search warrant on January 6, 2012
                        . See Martin, 157 F.3d at 46. But to the extent he does, the argument would fail. Courts have
   routinely upheld periods similar to the 15-day delay here between procuring the information and searching it, where,
   as here, law enforcement’s retaining the thing to be searched did not interfere with defendant’s ability to use it and
   where the delay included weekends and holidays. See id. at 54 (11 days, including two weekends and Christmas);
   United States v. Okparaeka, No. 17-CR-225, 2018 WL 3323822, at *7 (S.D.N.Y. July 5, 2018) (19 days, including
   three weekends and Passover); United States v. Mathews, No. 18-CR-124, 2018 WL 2277839, at *3 (S.D.N.Y. May
   17, 2018) (17 days, including two weekends and Christmas).

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   needed to deter police from violations of constitutional and statutory protections,” but

   suppressing evidence that was discovered “by means wholly independent of any constitutional

   violation” would neither further that goal nor promote justice generally. Nix v. Williams, 467

   U.S. 431, 442 (1984). Therefore, where a search pursuant to a warrant is preceded by a

   warrantless search, the question is whether “(1) the warrant [was] supported by probable cause

   derived from sources independent of the illegal[ity]; and (2) the decision to seek the warrant

   [was not] prompted by information gleaned from the illegal conduct.” United States v. Nayyar,

   221 F. Supp. 3d 454, 466 (S.D.N.Y. 2016) (quoting United States v. Johnson, 994 F.2d 980, 987

   (2d Cir. 1993)); see also Murray v. United States, 487 U.S. 533, 541-43 (1988).

           As noted above, defendant does not contest that the first and second search warrants were

   supported by probable cause, so the first element is satisfied. That the second element is

   satisfied is evident from the warrant applications themselves: the application for a warrant to

   search DVD1 does not mention its contents as a reason for the search and the application for a

   warrant to search DVD2 mentions only the contents of DVD1, which was searched pursuant to

   the first warrant.

           Therefore,

                                                        – and for all of the reasons stated above, the

   Court concludes that it was not – the Court would not suppress the evidence from that search

   because when the Government did search the DVDs, it was pursuant to untainted warrants.

           B. Challenges to the Warrants’ Facial and Procedural Validity

           Defendant next challenges the warrants that the FBI procured to search the contents of

   DVD1 and DVD2 and to search the Amazon Cloud server directly as facially and procedurally

   invalid under Federal Rule of Criminal Procedure 41. These challenges also fail.



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                     1. Warrants’ Facial Validity

            To comply with the Fourth Amendment, a warrant must “particularly describ[e] the place

   to be searched, and the persons or things to be seized.” U.S. Const. amend. IV. A warrant must

   therefore (1) “identify the specific offense for which the police have established probable cause”;

   (2) “describe the place to be searched”; and (3) “specify the items to be seized by their relation to

   the designated crimes.” United States v. Galpin, 720 F.3d 436, 445-46 (2d Cir. 2013) (internal

   quotation marks and citation omitted).

            Defendant argues that these warrants do not describe with sufficient particularity the

   place to be searched or the specific offense. Defendant only challenges the description of the

   place to be searched in the third warrant 7.

            As defendant states, the third warrant describes the place to be searched as “FlexiSpy

   accounts associated with usernames: [list of 35 FlexiSpy account names], which is controlled by

   Amazon and stored on the Amazon Cloud Server.” The 35 FlexiSpy account names, not the

   entire Amazon Cloud server, constitute the “place” to be searched. See, e.g., United States v.

   Westley, No. 17-CR-171, 2018 WL 3448161, at *12 (D. Conn. July 17, 2018). Although a

   user’s account is not a physical location, specifying the username limits the place where

   information can be searched in the same way a description of an address or room or object

   would. Even if the third warrant had not been limited to 35 of defendant’s FlexiSpy account

   names, the all-records exception would likely apply here and render a search of all of defendant’s

   FlexiSpy accounts valid. See United States v. Ulbricht, 858 F.3d 71, 102 (2d Cir. 2017). The

   third warrant is therefore particularized as to the place to be searched.




   7
    The third warrant is really two warrants, a search warrant and a tracking warrant, but the applications for both
   warrants were supported by the same joint materials and both have the same Attachment A.

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            Defendant’s argument on the second point seems to be that because the first and second

   warrants did not list the particular statutes under which he was charged, they did not state the

   particular offenses as required. The Government counters that the specific statutes for which it

   had probable cause to search were listed in its warrant applications and in the affidavits

   submitted with them.

            Both sides are wrong on the law. It is well established that the Government cannot rely

   on a representation in its warrant application or the affidavit in support of it where those

   documents are not incorporated by reference or attached to the warrant itself. See Groh v.

   Ramirez, 540 U.S. 551, 557 (2004). None of the search warrants at issue here incorporate the

   Government’s application or its affidavit by reference and neither are attached to the warrant, so

   this argument fails.

            Defendant, on the other hand, does not cite any caselaw to support his argument that the

   warrant must list a particular statute and the Court has not found any. “Attachment A” to all

   three warrants lists the specific offenses for which the Government had probable cause to search:

   “trafficking of narcotics or laundering of drug proceeds.” Because Attachment A was attached

   to and incorporated by reference in the warrants (unlike the Government’s application and

   affidavit), its contents are considered part of the warrant. See id. at 557-58; United States v.

   George, 975 F.2d 72, 76 (2d Cir. 1992).

            The Second Circuit has consistently upheld warrants that do not reference a particular

   statutory provision where the warrant provides a description of the crime alleged similar to the

   one in Attachment A here. For example, in United States v. Bianco, 998 F.2d 1112, 1115-16 (2d

   Cir. 1993), the Second Circuit upheld the validity of a warrant 8 that described the particular


   8
    In Bianco, the warrant itself did not contain any reference to a crime; the Second Circuit looked to the supporting
   affidavit of the special agent, which said that the agents were “looking for evidence of [defendant’s] loansharking.”

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   offense for which the evidence is sought as “loansharking.” By contrast, in United States v.

   George, 975 F.2d 72, 75 (2d Cir. 1992), the Second Circuit concluded that a warrant authorizing

   the police to search for “any other evidence relating to the commission of a crime” was

   impermissibly broad. The George Court distinguished the warrant before it from others the

   Court had approved that authorized the seizure of “evidence” or generic classes of items where a

   more precise definition was not possible and that “identified a specific illegal activity to which

   the items related.” Id. at 76. The George Court made clear that a warrant is insufficient in this

   respect only when it combines both general categories of evidence to be seized and general

   categories of criminal behavior.

           Attachment A to the first and second warrants specified certain categories of information

   (including text messages, Blackberry messages, and call logs/toll records) that “appear to be

   pertinent to the trafficking of narcotics or laundering of drug proceeds,” which is a sufficiently

   particular description of the specific offense for which the police have established probable cause

   under the Fourth Amendment.

                    2. Warrants’ Procedural Validity

           Finally, defendant argues that the third FlexiSpy warrant (the tracking and search

   warrant), violates the venue provision in Federal Rule of Criminal Procedure 41(b) and the

   requirement in Rule 41(e)(2)(C) that the warrant identify the property to be tracked and the judge

   to whom the tracked information should be returned.

           Defendant’s venue argument is based on the fact that the warrant was issued by a

   magistrate judge in the Southern District of New York for electronic data located in the Western



   998 F.2d at 1115. Groh overruled the practice of consulting a supporting affidavit the way the Bianco Court did,
   unless the parameters described above are met. But the point is that “loansharking,” although it appeared in the
   wrong place in Bianco, was a sufficiently particular description of the crime.

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   District of Washington. First, although Rule 41(b) does not appear to provide a basis for the

   magistrate judge to have issued the warrant in the Southern District of New York, 9 the Stored

   Communications Act, 18 U.S.C. § 2701, does. That statute “regulates search and seizure of

   electronic evidence” in the possession of a “remote computing service.” United States v. Scully,

   108 F. Supp. 3d 59, 82 (E.D.N.Y. 2015) (internal quotation marks omitted). A remote

   computing service is “the provision to the public of computer storage or processing services by

   means of an electronic communications system,” 18 U.S.C. § 2711(3), which covers the Amazon

   Cloud server.

            The venue provision in the Stored Communications Act permits a district court or

   magistrate judge “that . . . has jurisdiction over the offense being investigated” to issue a warrant

   for “any wire or electronic communication” that is held or maintained by that service “on behalf

   of, and received by means of electronic transmission from . . . a subscriber or customer or such

   remote computing service.” Id. §§ 2703(b)(2), 2711(3).

            Under the Stored Communications Act, such a warrant should be issued “using the

   procedures described in the Federal Rules of Criminal Procedure.” Id. § 2703(b)(1)(A).

   Although the “procedures” could be understood to include the venue requirements for Rule

   41(b), the Court agrees with other courts to consider this question that they are more naturally

   read to refer to the process-related requirements, such as those in Rule 41(d), (e), and (f). See

   United States v. Berkos, 543 F.3d 392, 397 (7th Cir. 2008); Scully, 108 F. Supp. 3d at 82.




   9
    The Government argues that Rule 41(b)(6) did not go into effect until December 2016, so the agents here should
   not be penalized for failing to anticipate its requirements. That is certainly true, but the Government conveniently
   omits that none of the subsections of Rule 41(b) that were in effect when the warrant was issued in 2012 provided
   for proper venue either.

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          Furthermore, even if the third warrant (the Flexispy and tracking warrants) violated Rule

   41(b) and was invalid under the Stored Communications Act, suppression would not be an

   appropriate remedy here because the purposes of the exclusionary rule are not satisfied.

          As discussed above, “[a]pplication of the exclusionary rule depends on the ‘efficacy of

   the rule in deterring Fourth Amendment violations in the future’ as well as a determination that

   ‘the benefits of deterrence . . . outweigh the costs.’” United States v. Rosa, 626 F.3d 56, 64 (2d

   Cir. 2010) (quoting Herring v. United States, 555 U.S. 135, 140 (2009)). Because its primary

   purpose is to incentivize officers to follow the law, the extent to which evidence should be

   excluded “varies with the culpability of law enforcement.” Herring, 555 U.S. at 143.

   Specifically, the question is whether “a reasonably well trained officer would have known that

   the search was illegal in light of all of the circumstances.” Id. at 146. The Court is mindful of

   the Supreme Court’s observation that “exclusion has always been our last resort, not our first

   impulse.” Id. at 140.

          Here, there is no evidence that the agents intentionally disregarded the venue requirement

   of Rule 41(b). Generally, a warrant issued by a neutral magistrate establishes that the law

   enforcement officer has “acted in good faith in conducting the search,” so long as the officer’s

   “reliance on the magistrate’s probable-cause determination and on the technical sufficiency of

   the warrant . . . [is] objectively reasonable.” United States v. Leon, 468 U.S. 897, 922 (1984);

   see also Massachusetts v. Sheppard, 468 U.S. 981, 989-90 (1984). The defects that defendant

   alleges in the third warrant are, at worst, mistakes made in issuing the warrant, not in the factual

   materials provided in the warrant application. Defendant does not, for example, allege that the

   magistrate judge was misled by information in the affidavit that the affiant agent knew to be




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   false. Nor is this the kind of warrant that is “so facially deficient” that an officer could not

   reasonably presume it was valid. Cf. Groh, 540 U.S. at 565.

            Any lack of authority by the magistrate judge to issue the warrant has little effect on

   police misconduct, which is the harm that suppression is designed to disincentivize. Here,

   suppression is not warranted because it was objectively reasonable for the agents to rely in good

   faith on the search and tracking warrants in the third warrant application, which were executed

   by two different magistrate judges. See United States v. Raymonda, 780 F.3d 105, 118 (2d Cir.

   2015).

            Defendant’s other arguments are also meritless. He argues that the tracking warrant does

   not identify the property to be tracked or the magistrate judge to whom it must be returned, but

   the warrant states that the property to be tracked is the “Location Data Contained in the FlexiSpy

   Accounts Listed in Attachment A,” which in turn specifies the 35 accounts from which the FBI

   agents would obtain the location data. As described above, Attachment A is part of the warrant

   because it was explicitly incorporated by reference and attached to the warrant itself.

   Furthermore, even though the warrant identified the Clerk of Court, rather than a particular

   judge, as the person to whom the information should be returned, this technical error is just that.

   Defendant incurred no prejudice because of this oversight. See United States v. Turner, 781 F.3d

   374, 386 (8th Cir. 2015); United States v. Salazar, No. 16-cr-264, 2017 WL 1365110, at *8 (D.

   Minn. Mar. 23, 2017).

                                             CONCLUSION

            Defendant’s [263] and [264] motions to suppress are DENIED.




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   SO ORDERED.
                                       Digitally signed by Brian M.
                                       Cogan
                                       ______________________________________
                                                    U.S.D.J.

   Dated: Brooklyn, New York
          August 29, 2018




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